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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH CAROLINA
                                   COLUMBIA DIVISION

CHRIS CATHEY,                                                  -
                                                               -
       Plaintiff,                                              -
                                                               -       PLAINTIFF’S VERIFIED
       v.                                                      -       COMPLAINT AND
                                                               -       DEMAND FOR JURY
GC SERVICES, LP                                                -       TRIAL
                                                               -
       Defendant.                                              -



       CHRIS CATHEY (“Plaintiff”), through attorneys, KROHN & MOSS, LTD., alleges the

following against GC SERVICES, LP, (“Defendant”):

                                        INTRODUCTION

       1.      Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15

U.S.C. 1692 et seq. (FDCPA).

       2.      Defendant acted through its agents, employees, officers, members, directors,

heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                 JURISDICTION AND VENUE

       3.      Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that

such actions may be brought and heard before “any appropriate United States district court

without regard to the amount in controversy.”

       4.      Defendant conducts business in the state of South Carolina, and therefore,

personal jurisdiction is established.

       5.      Venue is proper pursuant to 28 U.S.C. 1391(b)(2).
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                                            PARTIES

       6.      Plaintiff is a natural person residing in Irmo, South Carolina

       7.      Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3), and

according to Defendant, Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C.

1692a(5).

       8.      Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6), and

sought to collect a consumer debt from Plaintiff.

       9.      Defendant is a national company located in Houston, Texas.

       10.     Defendant, in the ordinary course of business, regularly, on behalf of itself or

others, engages in debt collection.

                                  FACTUAL ALLEGATIONS

       11.     Defendant’ began placing collection calls to Plaintiff and Plaintiff’s place of

               employment seeking and demanding payment for an alleged consumer debt.

       12.     Plaintiff incurred this debt primarily for personal, family and household purposes.

       13.     On November 5, 2012, Defendant contacted Plaintiff at the phone number 803-

               223-0815. See Exhibit A.

       14.     In the voicemail message, Defendant’s representative, “Celeste Dobson”, failed to

               meaningfully disclose the company’s name or the nature of the call or state that

               the call was from a debt collector. See Exhibit A.

       15.     In the voicemail message, Defendant’s representative, “Celeste Dobson”, directed

               Plaintiff to call him back at 855-250-5471, which is a number that belongs to

               Defendant. See Exhibit A.
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         16.   Defendant is using false, deceptive and misleading means in connection with

               attempting to collect a debt by not identifying the purpose of its phone calls or

               that they are an attempt to collect a debt.

                             COUNT I
    DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

         16.   Defendant violated the FDCPA based on the following:

               a. Defendant violated §1692d of the FDCPA by engaging in conduct the natural

                  consequence of which is to annoy, harass and oppress Plaintiff.

               b. Defendant violated §1692d(6) of the FDCPA by placing telephone calls

                  without meaningful disclosure of the caller’s identity because Defendant did

                  not provide the identity of the caller or the purpose of the call.

               c. Defendant violated § 1692e of the FDCPA by using false, deceptive or

                  misleading representation with the collection of the debt.

               d. Defendant violated § 1692e(10) of the FDCPA by using deceptive means in

                  an attempt to collect a debt.

               e. Defendant violated § 1692e(11) of the FDCPA by failing to disclose that the

                  call was from a debt collector.

         WHEREFORE, Plaintiff, CHRIS CATHEY, respectfully requests judgment be entered

against Defendant, GC SERVICES, LP, for the following:

         17.   Statutory damages pursuant to the Fair Debt Collection Practices Act, 15 U.S.C.

1692k,

         18.   Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection

Practices Act, 15 U.S.C. 1692k

         19.   Any other relief that this Honorable Court deems appropriate.
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                                  RESPECTFULLY SUBMITTED,

                                  KROHN & MOSS, LTD.

DATED: April 12, 2013             By: /s/Chauntel Bland

                                 Chauntel Bland, Esquire
                                 463 Regency Park Drive
                                 Columbia, SC 29210




                             DEMAND FOR JURY TRIAL

        PLEASE TAKE NOTICE that Plaintiff, CHRIS CATHEY, demands a jury trial in this

case.
